Case 2:08-cr-00327-SRC          Document 486        Filed 06/20/11     Page 1 of 2 PageID: 2478




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 (FLU:PM)

                         UNITED STA TES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

  UNITED STATES OF AMERICA.                                      Hon. STANLEY R. CHESLER

                                                Plaintiff        CRIMINAL No. 08-327-0 1
          V.

                                                                  APPLICATION AND ORDER
  ANDREW MEROLA,                                                 FOR WRIT OF GARNISHNET

                                                Defendant,
          and

  TD BANK, NA,
  and its successors or assigns,
                                                (;ai,nshee,

        The United States of America. p1aintiff makes this application in accordance with 28 U.S.C.

  3205(h)(1)to the Clerk of the United States District Court to issue a Writ of Garnishment upon

the judgment entered against the defendant, Andrew Merola, social security number *******8454

whose last known address is East 1-lanover. NJ 07936 in the above cited action in the amount of

5161.58 1.60. plus interest at the rate of .220% per annum and penalties.

        The total balance due and owing as of June 14, 201 1 is $56,875.00.

       Demand for payment of the above-stated debt was made upon the debtor not less than 30

days from June 14. 2011, and debtor has failed to satisfy the debt.
Case 2:08-cr-00327-SRC         Document 486        Filed 06/20/11      Page 2 of 2 PageID: 2479



       The Garnishee is believed to have possession of property in which Andrew Merola has a

substantial non-exempt interest. More specifically, the Garnishee is a financial institution which is

believed to have in its custody. control. or possession, property belonging to the judgment debtor,

Andrew Merola.

       The name and address of the Garnishee or his authorized agent is:

                              ID Bank, NA
                              Legal Department
                              P0 Box 9540
                              Portland. ME 04112

        Based upon the foregoing, the United States respectfully requests the Court to enter an Order

directing the Clerk of the United States District Court to issue a Writ of Garnishment.


                                                      PAUL J. F1SI1MAN
                                                      United States Attorny


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                                                     Assistant U.Attornev


                                              A
        IT IS. on this /1        day of                 .2011.

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                                       K
        ORDERED, that the Clerk he Court shall issue the Writ of Garnishment.



                                            STAN LEV R. CHESLER. JUI)GE
                                       UNITED STATES DISTRICT COURT
